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              IN THE UNITED STATES BANKRUPTCY COURT
                   WESTERN DISTRICT OF MISSOURI
In re: RAQUEL LEGASPI SIPPLE

                                                               Case No.: 24-41282-can-13

                             Debtor


                        MOTION TO DENY CONFIRMATION OF PLAN

    COMES NOW Richard V. Fink, Chapter 13 Trustee, and requests the court deny confirmation of the
proposed plan (document #28), filed on or about December 20, 2024. In support thereof, the trustee
states that the issues related to the proposed plan include:

   1. 11 U.S.C. Section 1322(d):

          The plan as proposed runs 98 months based on currently available information.

   2. 11 U.S.C. Section 1325(a)(4):

          It appears there is individual non-exempt equity of $5,626.06. The equity comes from
          jewelry ($1,000), bank accounts ($502), 2023 tax refunds ($1,904) and recoverable
          preference ($2,220.06). The proposed plan will pay less to the non-priority unsecured
          creditors than if the estate were liquidated under Chapter 7.

   3. 11 U.S.C. Section 1325(a)(4) - Tenancy by the Entirety Issues:

          It appears that there is non-exempt equity in property held under tenancy by the entireties
          that is being shielded from individual creditors. The debtor has scheduled debt with
          governmental entities that have not yet filed claims. Until the governmental bar date
          passes and the trustee can review the claims as filed, it is unclear whether the debtor is
          proposing a plan that will pay less to the unsecured creditors than if the estate were
          liquidated under Chapter 7.

   4. 11 U.S.C. Section 1325(b):

          The debtor deducts business or rental expenses on Form 122C-1. Per In re Wano,
          08-42611-jwv-13 (an unpublished opinion) and In re Wiegand, 386 B.R. 238 (B.A.P. 9th
          Cir. 2008), business may not be deducted before determining a debtor’s applicable
          commitment period. It appears that the debtor has above median income with the
          business removed from Form 122C-1. The trustee requests that Form 122C-1 be
          amended and that Form 122C-2 be completed to calculate projected disposable income
          pursuant to 11 U.S.C. §1325(b). It is the trustee’s position that business may be listed on
          Line 43 of Form 122C-2.

   5. Insufficient Information in Plan:
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              Service Finance was scheduled as a non-priority unsecured creditor but has filed a secured
              claim. The plan does not address treatment of the secured claim.


   WHEREFORE, the Chapter 13 Trustee moves the Court for an Order Denying Confirmation of the
proposed plan.


                                                                 Respectfully submitted,
         January 03, 2025
                                                                 /s/ Richard V. Fink, Trustee

                                                                 Richard V. Fink, Trustee
                                                                 2345 Grand Blvd., Ste. 1200
                                                                 Kansas City, MO 64108-2663
                                                                 (816) 842-1031

                                                    NOTICE OF MOTION

Any response to the motion must be filed within twenty -one (21) days of the date of this notice (subject to an extension
pursuant to Federal Rule of Bankruptcy Procedure 9006 ) with the Clerk of the United States Bankruptcy Court .
Documents can be filed electronically at http://ecf .mowb.uscourts.gov. A copy of such response shall be served electronically
by the Court on the Chapter 13 Trustee and all other parties to the case who have registered for electronic filing . Parties not
represented by an attorney may mail a response to the Court at the address below . If a response is timely filed, the Court will
either rule the matter based on the pleadings , or set the matter for a hearing. If a hearing is to be held, notice of such hearing
will be sent to all parties in interest . If no response is filed within twenty-one (21) days (subject to an extension pursuant
to Federal Rule of Bankruptcy Procedure 9006 ), the Court will enter an Order denying confirmation of the plan . For
information about electronic filing, go to http://www.mow.uscourts.gov. If you have any questions about this document ,
contact your attorney.

Court Address: U.S. Bankruptcy Court, 400 E. 9th St., Room 1510, Kansas City, MO 64106


                                                    NOTICE OF SERVICE

The following parties will be served either electronically or by United States First Class Mail . If any party is served by United
States First Class Mail a certificate of service will be filed thereafter:

DEBTOR(S)
WAGONER BANKRUPTCY GROUP (206) - ATTORNEY FOR DEBTOR(S)

                                                                 /s/ Richard V. Fink, Trustee


                                                                                                   LB     /Motion - Deny Confirmation
